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 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                CASE NO.: 20cr1250-DMS
12                      Plaintiff,
                                              ORDER ALLOWING VTC PLEA
13         v.
14   ESTEFANIA AMADOR,
15                      Defendant.
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17         The Court grants Ms. Amador’s request to enter a plea by VTC. The Court
18   finds under Section 15002(b)(2)(A) of the CARES Act and Chief Judge Orders 52
19   and 52A that delay would cause serious harm to the interests of justice.
20         IT IS SO ORDERED.
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     Dated: January 12, 2021
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